             Case 5:13-mc-00056-XR Document 1 Filed 01/17/13 Page 1 of 1

                                                                                                                        FILED
                 CUSTOM FR'S MOTION TO ChALLENGE GOVERNMENTS ACCESS
                      TO flNANCIAL RECORDS IN TUE LNITEI) I'ATiS                                                        JAN 1 7   2013
                                                 flIS.TRJ(T ('OifRf
                                                                                                               CLERK U.S. DSTRCT COURT
                                                                                                               WESTERN pSTRCT OF TEXAS
                                                                                                                aY
                                       D[STRICRW              T¼xS
                 çrifThrricr)                                          (Sat    Whit    Couri b


                                                                    MicLaLiu        No.
Vcr Nn'c)

                                I1                                                        MC 0056
                                                                    MOTLON FOR ORDFR P'RSUANT
                                                                                                                              XR
                                  V.                                TO CUSTOMER CHALiJN<it
                                                                    PkOVISIOS 01 1 flE   FlU    RH
    ptretIt o( Liènc                                                FNANflAL Pk1V\CY AC1
                                                                    or



                                                                            hbyrn              Cøuri   purn     R
                           (You Nru

           U1(i of the Rtght to FmmaI Priicy Aof 197,              12 Unilt_d Stat.Co&h 3401, el         q.         n

periing th              ori't iom obtin        to my                     Incu*ds, Th           cy                       thc

                   if



M     1i&nci1      rrcb       11d by                               APcA

h        pcwt                     C:utt   r   çcctuU           trdto    y      ..:rncr4t ttted with     thi   motca.


          i1*lJy    ubnntd.




Ycur $pparur}
                            _
                         ____
(Your Adtfres)

    +'       L   2 2'ci
(Vi       Ti1cphoix        m1x)




Right to    Fi      iia PrivayAt of           Title   12   Umtcd Sate Ccxk, Setion        4W
